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to heart in the way that we do now, as a reflection of who this person was and is, and
what he became.




DuVernay and Jerome on the set of ‘When They See Us.’ Photo credit: Atsushi
Nishijima/Netflix

Atsushi Nishijima/Netflix

This story had never been told from the perspective of the five men. How
did you approach that challenge?
I started just speaking with the men first. That was my first way in. And from there I
folded in all of the court transcripts, different records and files that we were able to get a
hold of through public means or private transfer. We then read every single stitch of
press coverage to really get an understanding of the ways in which this was being
reported, to understand the propaganda around this case. You know, there was a study
done that 89 percent of the articles that were written at the time, by the New York
papers, didn’t even use the word “alleged.” I also talked with academics to get
underneath the state of New York City at the time. What were the political motivations?
But it always came back to the men and then their families. Over a four-year period, it
was just exhaustive. Interviews, but sometimes just spending time. Lunches, dinners,
just getting to know them. Sometimes it’s the little things more than just the core
stories.
Many directors say that working with young actors can be challenging.
Jharrel Jerome, who plays Korey Wise, is now 21 and had experience from
Barry Jenkins’ Moonlight, but some of the other young stars haven’t gotten




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as much notice. Can you tell us about the five young men who play these
boys?
A Wrinkle In Time, where I was directing young actors, certainly helped me in this
endeavor. My approach was to make sure that they had context for what they were
doing. They got packets on the case. I asked them to research it like homework. You’re
just not in your scene — you’re in a four-part saga, and you have to hold up your end of
the tent, so we can all get under. So really understand and know what you’re doing.
And then on top of that, [all of the actors, adults and boys,] met and spent time with the
men they were portraying. And it was a little more challenging for the boys because
they’re meeting men, right? It didn’t necessarily help them interpret their characters
who are boys. But it gave them a sense of “This is serious.” You know what I mean? You
are playing this man standing before you — look in his eyes. It’s on you to tell part of the
story that is paramount to the way that he exists now. I had to pick boys who had a level
of intelligence and sensitivity to be able to revive that beyond their technical ability as an
actor.
Jerome was the only one who portrayed his character all the way through.
What went into that decision?
There were submissions of over 7,000 boys and men. I saw, maybe 200, 300. And that’s
a lot for these parts. So the process was very much one of list-making: “These 30 people
might be able to be this guy. These seven people could play this person as a kid.” You’re
putting together the pieces of a puzzle. I’d find a boy that I loved, but I couldn’t find a
man to match him, that looked like him, or vice versa.
And so with Jharrel, I found him to be on multiple lists. He was on a list of someone
who could play a kid and he was on a list of being able to play a man. And his auditions
for both were stellar. I thought, “God, am I gonna break form and have one be played by
one person, while the rest are played by two?”
But it really came to be perfect because he has his own bottle episode, his own part —
the finale episode is his episode. So it really served for a seamless transition from boy to
man within the final part of the piece. And he was adept at playing both and did it
beautifully.
How did you decide to break up the story the way you did?
Well, I always knew that Korey was going to have his own part.
Why is that?
Because when I first met Korey, within 15 minutes he said, “There is no Central Park
Five, it’s four plus one.” And I never forgot that. He looked me in the eyes and he said,
“They had an experience and I had an experience. They are not the same.” He had some
pain and some anger about being lumped in to the Central Park Five when the four were
in juvenile hall detention. They eventually all went to adult prison, but they got out
when he was continuing to serve time. And he was always in an adult prison; he never
experienced juvenile detention. Going into Rikers at age 16, as you see in the piece, it
made a very singular experience. And I wanted to honor that, so I knew I had to find a
way to break him out. And as I started working on it with my co-writers — Robin
Swicord, Attica Locke, Michael Starrbury — the three of us really were able to get in
there and wrestle the story down to the ground.
The one thing that I did walk in the door knowing was: “We will start in the park.” We
will start on the day that it happened, but we will show these boys being free and being
themselves before the incident happened, so that it doesn’t just start in the precinct.




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And we will end with Korey in his own space and in his own time. Those were the
beginning and end, the big pillars of the piece. That came pretty quickly upon talking to
the men.




DuVernay and Caleel Harris, who portrays a young Antron McCray, on set. Photo
credit: Atsushi Nishijima/Netflix

Atsushi Nishijima/Netflix

Not to age us both, but we were both around the age of those boys when this
all happened. How did you personally experience this story, in real time?
I was a junior in high school on the West Coast. I grew up in Compton. I remember
hearing the story, not so much for the details because I don’t remember that. I do
remember honing in on the word “wilding” and not knowing what that meant, and
calling a cousin in New York and saying, “What’s wilding?”
He said, “We don’t know what that is, we think they mean ‘wilin’ out,’ wilding.” And I
was like, “Wilin’ out like, like hanging out, like having fun?” And he’s like, “Yeah.” And I
remember so clearly thinking…”Oh.” I couldn’t believe that word was being used on the
news as fact when it was something that was manufactured, and the people who’d been
supposedly using it didn’t even know what it was.
How did this film stretch you as an artist?
It’s the hardest thing I’ve ever done. Selma was hard. But this was very difficult. The
only way I made it through was because every single thing I’ve done before prepared me
for it. Working with children in A Wrinkle in Time. Working with the scale and scope
of A Wrinkle in Time. Working with family issues in Queen Sugar and the family drama




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in that genre. Working with the idea of the invisible victims of incarceration. The
families, the mothers, the daughters, the sisters, the wives, in Wrinkle, in Middle of
Nowhere. All of the historical context I had in 13th. Each one of those things led me to
this.
Did the process wear on you personally?
Even though I felt depleted by the subject matter, I think I was just tired. I was coming
back-to-back off Wrinkle. I had one weekend from the London premiere of Wrinkle to
walking into my office on Monday with the director of photography and the first
assistant director to prep this. I was on fumes. And the only thing that got me through
was the passion and the experience. What this piece taught me was you’ve done a lot and
you’ve learned a lot, and you have an arsenal, and you have tools, and you have the skill
set to get through the tough moments even when you don’t think you can.
The year of these events, 1989, was pivotal for me. I was 13 going on 14. I
remember the Central Park Five, Do the Right Thing, the music. I
remember coming into consciousness about how hard things are for black
people. It hit home watching it how you made that year a character in this
film.
Yeah, you want to drop people into 1989. But really, you’re talking about only the first 10
minutes of the movie, because after that you go inside of a precinct. In Episode Two,
you’re in courtrooms for most of it. Or you’re in their homes. So I really only had that
first 10 minutes — and I spent a lot of time on that. I got to get you there quickly. I got to
make you feel how it was to be a black boy in Harlem, free and happy, you know,
hanging out with your friends, going to a party, talking to your girlfriend, talking to your
dad, eating chicken, walking home. All those things in the short amount of time before it
all goes wrong. It’s basically the last day of their youth.
I have to show you as quickly and powerfully as I can to start it off. The music had a lot
to do with that. You know, I love the fact that the first two songs that you hear fully in
the film are [by] Special Ed and Public Enemy. And then the last two songs of the whole
piece are Frank Ocean and Nipsey Hussle. And that’s the idea: that this much time has
passed in between, and we’re still talking about this case. It’s still a lot that’s unresolved
about how it happened and why. And we have to really interrogate it all so we can get to
a place where we’re clear, so it doesn’t happen again.
How did the men respond to the film when they saw it?
Well, you know, their response is what has put me in a place where I’m not reading
reviews for the first time in my career.
I was a publicist, so I work with a lot of critics, and I have great respect for the press. But
for me, as a filmmaker early on I allowed reviews to be the measuring stick of my
success. And with this piece I’m like, “I don’t need to read them, because [these men]
told me what they thought, and they’re who I care about.” I set out to tell their story and
I worked four years to get it right. Every day on set I was trying to honor them, stay true
to them, add things that would help would honor them, take away things that wouldn’t,
focus on the story that they wanted to tell — finally.
I sat behind them in a screening room a month and a half ago in L.A. — and it was
a small screening room. We had three rows. They were in the second row; I was in the
third row in the corner. I could see them. I put myself at an angle where I could see all
their faces illuminated by the light from the screen. I knew the film so well that I could
just watch them watch it. All four parts.




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It was the most humbling, magnificent, jaw-dropping and truly spiritual experience that
I’ve had as a filmmaker. No awards show, no review, no nothing, no billboard, nothing
has ever even come close. All those measuring sticks of success paled in comparison to
that moment, and it was the best four and a half hours I’ve ever had as a filmmaker.
Needless to say, they were very emotional throughout the screening. They held hands,
they hugged, they cried, they cheered, they saw themselves. And so when I’m asking
people When will you see them?, I’m asking by seeing them, will you see all of the boys
and girls and men and women who are black or brown, who are unseen or who are seen
through the lens of criminality?
It all happened in that afternoon, and it was transformative for me in the most beautiful
way. I was so grateful for it.
Popular on Rolling Stone
Volume 0%




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